Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 1 of 9




  DISTRICT COURT, COUNTY OF BOULDER,
  STATE OF COLORADO.
                                                           DATE FILED: December 7, 2017 4:37 PM
  Court Address:                               FILING ID: DB96E85A9304F
  1777 Sixth Street                            CASE NUMBER: 2017CV31206
  Boulder, Colorado 80302
  _________________________________________________

  Plaintiff: ROBERT BALLARD,

  v.
                                                                   ▲COURT USE ONLY▲
  Defendants: PRAETORIAN INSURANCE COMPANY.

  Attorneys for Plaintiff:                                         Case Number:
  Robert D. Wilhite, Esq.
  Sandra L. Hagen, Esq.
  Sawaya, Rose, McClure & Wilhite, P.C.
  1600 Ogden Street                                                Div.:         Ctrm:
  Denver, CO 80218
  Phone Number: (303) 839-1650
  FAX Number: (303) 832-7102
  E-mail: rwilhite@sawayalaw.com; shagen@sawayalaw.com
  Atty. Reg. #: 36245, 43080

                                          COMPLAINT


        Plaintiff Robert Ballard (hereinafter “Plaintiff”), by and through his attorneys, Sawaya,
  Rose, McClure & Wilhite, P.C., files his Complaint against Defendant Praetorian Insurance
  Company and states as follows:

                           PARTIES, JURISDICTION, AND VENUE

  1.     On or about February 4, 2014, the date of the incident complained of, Plaintiff Robert
         Ballard was a resident of Denver County, State of Colorado.

  2.     At all times material, Defendant Praetorian Insurance Company, d/b/a Deep South
         Insurance Services, (hereinafter Praetorian), was authorized to do, and is doing business
         in the State of Colorado.

  3.     Jurisdiction and venue are proper in this action pursuant to C.R.C.P. 98(c)(1).

                                   GENERAL ALLEGATIONS




                                                  1
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 2 of 9




  4.    On or about February 4, 2014, Plaintiff was involved in a motor vehicle collision at 1033
        Buffalo Ridge Road, City of Castle Rock, County of Douglas, State of Colorado, with
        underinsured motorist Hugo Topete.

  5.    On or about February 4, 2014, Plaintiff was dispatched by his employer, American
        Automobile Association (AAA), to 1033 Buffalo Ridge Road, City of Castle Rock,
        County of Douglas. Plaintiff parked his vehicle in front of the residence against the curb
        facing northwest. Plaintiff exited his vehicle and was standing behind the passenger side
        rear quarter panel as underinsured Topete traveled southeast towards Plaintiff, rounded
        the curve of Buffalo Ridge Road, and lost control his vehicle. Underinsured Topete’s
        vehicle slid down the hill of Buffalo Ridge Road towards Plaintiff’s vehicle, spun
        sideways, and collided with Plaintiff’s parked vehicle with such force that Plaintiff had to
        jump out of the way to avoid being struck by his own parked vehicle. Plaintiff, as a result
        of jumping out of the way from being struck from his parked vehicle, injured his right
        knee.

  6.    Upon information and belief, following the subject motor vehicle collision, Plaintiff
        presented to the Concentra Medical Centers with complaints of right knee pain.
        Subsequent diagnostic imaging revealed acute, complete disruption of the proximal fibers
        of the anterior cruciate ligament, acute uncomplicated osteochondral contusions in the
        proximal tibia and moderate joint effusions with horizontal and longitudinal tearing of the
        posterior horn of the medial meniscus. Plaintiff followed up with John Papilion, M.D.,
        who assessed Plaintiff with complete tear of the anterior cruciate ligament, complex
        horizontal tear of the posterior horn of the medial meniscus, and deep bone bruise and
        micro-fracture of the posterior-lateral tibial plateau. As result, Plaintiff underwent
        arthroscopic chondroplasty of the patella, arthroscopic medial meniscal repair and
        arthroscopic-assisted anterior cruciate ligament reconstruction with anterior tibialis
        allograft. To date Plaintiff has been unable to return to his original employment he held at
        the time of the subject incident and is unable to meet the physical demands of similar
        employment as a result of injuries sustained from the subject motor vehicle collision.

  7.    On the date of the above-referenced motor vehicle collision underinsured motorist Hugo
        Topete operated his motor vehicle negligently, recklessly, carelessly, and in disregard for
        the traffic regulations then in effect, the traffic conditions then encountered, and the
        rights and safety of Plaintiffs and the public at large.

  8.    On the date of the above-referenced motor vehicle collision Plaintiff’s motor vehicle was
        parked at 1033 Buffalo Ridge Road, City of Castle Rock, County of Douglas.

  9.    Plaintiff was not negligent in the above-referenced motor vehicle collision.

  10.   No third party caused or contributed to the cause of the above-referenced motor vehicle
        collision, and/or Plaintiff’s injuries, damages and losses.

  11.   Plaintiff has not failed to mitigate his damages from the above-referenced motor vehicle
        collision.



                                                 2
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 3 of 9




  12.   To the extent that Plaintiff suffered from any pre-existing physical condition, that
        condition is not relevant to any legitimate issue to be adjudicated herein.

  13.   Plaintiff has not been injured in an unrelated matter subsequent to the above-referenced
        motor vehicle collision.

  14.   As a result of the above-referenced motor vehicle collision, Plaintiff sustained injuries.

  15.   As a direct and proximate result of the above-referenced motor vehicle collision, Plaintiff
        has suffered traumatic physical, and/or emotional, and/or psychological injuries, and/or
        disabilities and/or economic losses and injuries which injuries, damages and losses are
        permanent in nature and which losses Plaintiff has suffered in the past and will suffer in
        the future.

  16.   As a direct and proximate result of the above-referenced motor vehicle collision, Plaintiff
        will be prevented from engaging in certain social and recreational activities normal to his
        lifestyle prior to the incident of February 4, 2014, and will otherwise be prevented from
        participating in and enjoying benefits of a full and complete life.

  17.   Plaintiff settled with the bodily injury insurance carrier, Progressive Insurance, on behalf
        of underinsured motorist Hugo Topete, on May 6, 2016.

  18.   At the time of the above-referenced motor vehicle collision, Plaintiff’s employer,
        American Automobile Association (AAA), had automobile insurance coverage in full
        force and effect that was provided to Plaintiff via employment, and was insured by
        Defendant Praetorian for underinsured motorist coverage.

  19.   On May 31, 2016, Counsel for Plaintiff sent Defendant a Demand letter with supporting
        documents. On June 23, 2016, Counsel for Defendant responded and sent a letter that
        requested that Plaintiff undergo both an independent medical evaluation and a vocational
        rehabilitation examination. On June 29, 2016, Counsel for Plaintiff agreed and confirmed
        availability for the independent medical evaluation; scheduled for August 17, 2016.
        Counsel for Plaintiff also requested the contractual legal authority from Defendant’s
        insurance policy setting forth the requirement for a vocational rehabilitation examination.

  20.   June 30, 2016, Counsel for Plaintiff emailed Counsel for Defendant a request for
        mediation availability. July 14, 2016, Counsel for Plaintiff emailed Defendant twice
        regarding mediation availability. July 21, 2016, Counsel for Plaintiff emailed Defendant a
        third time regarding mediation availability. On July 28, 2016, Counsel for Plaintiff sent a
        letter to Defendant regarding mediation availability. On August 5, 2016, Counsel for
        Plaintiff mailed a second letter to Defendant requesting mediation availability.

  21.   On August 17, 2016, Plaintiff attended the independent medical evaluation with Dr.
        Henry Roth. On August 18, 2016, Counsel for Defendant sent a letter detailing a
        vocational rehabilitation specialist had been hired by Defendant and dates of availability



                                                  3
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 4 of 9




        were pending. On August 19, 2016, Counsel for Plaintiff requested Defendant disclose
        the vocational rehabilitation expert they had hired. Counsel for Plaintiff also requested
        that if the vocational rehabilitation expert is not a physician, to please send the
        contractual legal authority for Defendants vocational rehabilitation examination request.

  22.   On September 8, 2016, Counsel for Plaintiff sent a letter to Defendant requesting if
        mediator Collie Norman was mutually agreeable. Counsel for Plaintiff reiterated the
        previous request for Defendant to provide contractual legal authority for the vocational
        rehabilitation examination request. On September 16, 2016, Counsel for Plaintiff sent a
        second letter to Counsel for Defendant requesting the status of an agreeable mediator.
        Counsel for Plaintiff also reiterated for Defendant to disclose contractual legal authority
        regarding the vocational rehabilitation examination request. On September 20, 2016,
        Counsel for Defendant confirmed mediator Collie Norman was acceptable. Counsel for
        Defendant disclosed Margo Burns as the vocational rehabilitation examiner and provided
        her availability for examination. Counsel for Defendant also stated “there is no specific
        language in the Praetorian policy language regarding an insured meeting with a
        vocational rehabilitation specialist.” Counsel for Defendant then requested Plaintiff
        schedule and undergo a repeat EMG study. On September 21, 2016, Counsel for Plaintiff
        sent Defendant a letter disputing the contractual legal authority for Plaintiff to attend the
        vocational rehabilitation examination. Mediation was scheduled on this date with
        mediator Collie Norman at Judicial Arbitration Mediation Services (JAMS).

  23.   On October 26, 2016, Counsel for Plaintiff sent a letter to Defendant declining the
        vocational rehabilitation examination. Counsel for Plaintiff accepted Defendant’s request
        for a repeat EMG study by a physician from their choice. On November 8, 2016, Counsel
        for Defendant sent a second letter reiterating the request for Plaintiff to attend a
        vocational rehabilitation examination with Margo Burns.

  24.   On December 5, 2016, Counsel for Plaintiff sent a letter requesting the insurance policy
        language of Defendant Praetorian requiring Plaintiff submit to a vocational rehabilitation
        examination. Counsel for Plaintiff agreed to arbitration with the stipulation that
        arbitration was conducted for the entire matter, not the single UIM claim. On December
        20, 2016, Counsel for Plaintiff sent a second letter to Defendant that reiterated the request
        for the insurance policy language of Defendant Praetorian which required Plaintiff
        undergoes a vocational rehabilitation examination.

  25.   On January 20, 2017, Counsel for Plaintiff sent a third letter that reiterated the request for
        the insurance policy language of Defendant Praetorian which required Plaintiff to
        undergo a vocational rehabilitation examination. Counsel for Plaintiff also reiterated that
        arbitration is agreeable on the stipulation it is for the entire matter, not the single UIM
        claim. On February 3, 2017, Counsel for Defendant sent a response letter that cited the
        November 8, 2016, letter which detailed Praetorian Insurance Company’s position
        regarding the request for Plaintiff to be interviewed by vocational rehabilitation examiner
        Margo Burns.




                                                  4
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 5 of 9




  26.   On May 2, 2017, Counsel for Plaintiff sent Defendant a letter and cited the contractual
        policy language previously provided by Defendant that indicated the insured is to “submit
        to examination, at our expense, by physicians of our choice.” Counsel for Plaintiff
        responded and stated Margo Burns is not a physician and opined that reliance on this
        clause in the insurance contract does not require Plaintiff to submit to a vocational
        rehabilitation examination. Counsel for Plaintiff reiterated that arbitration involve all
        claims, including claims for bad faith and breach of contact. On May 23, 2017, Counsel
        for Plaintiff sent Defendant a follow up letter reiterating the positions of both the
        vocational rehabilitation examination and arbitration. Counsel for Plaintiff stated Plaintiff
        would undergo the requested vocational rehabilitation examination with Margo Burns, in
        good faith, on the stipulation that there will be no additional examination of this type;
        specifically prohibiting a Rule 35 Examination should suit be filed.

  27.   On June 26, 2017, Counsel for Plaintiff sent Defendant a second letter that reiterated the
        positions of both the vocational rehabilitation examination and arbitration. On July 12,
        2017, Counsel for Plaintiff sent a third letter to Defendant that reiterated the positions of
        both the vocational rehabilitation examination and arbitration. On August 2, 2017,
        Counsel for Plaintiff sent a fourth letter to Defendant that reiterated the positions of both
        the vocational rehabilitation examination and arbitration.

  28.   On August 10, 2017, Counsel for Plaintiff sent a letter to Defendant confirming the
        vocational rehabilitation examination for August 16, 2017, at 1:00 p.m. Plaintiff attended
        said examination.

  29.   On September 22, 2017, Counsel for Plaintiff sent a letter to Defendant that requested a
        copy of the vocational rehabilitation examination report. On November 8, 2017, Counsel
        for Plaintiff sent a second letter to Defendant that requested a copy of the vocational
        rehabilitation examination report. To date Counsel for Plaintiff has yet to receive the
        report.

  30.   Plaintiff has filed an underinsured motorist claim with Defendant Praetorian who has
        failed to make any payments regarding his injuries.

                      FIRST CLAIM FOR RELIEF
                ALLEGATIONS OF BREACH OF CONTRACT/
    UNDERINSURED/UNDERINSURED MOTORIST COVERAGE BY PRAETORIAN
                        INSURANCE COMPANY

  31.   Plaintiff incorporates and re-alleges the allegations contained in paragraphs 1 through 30
        above.

  32.   At all times material hereto, and at the time of the incident complained of, the Defendant
        Praetorian was a domestic corporation, authorized to do and doing business in the State
        of Colorado, with its registered agent as the Division of Insurance.




                                                  5
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 6 of 9




  33.   At all times material hereto, and at the time of the incident complained of, the Plaintiff
        was insured under a statutorily complied Colorado auto insurance policy issued by
        Defendant Praetorian.

  34.   Upon information and belief, said policy contained within it a "direct action clause and/or
        in the alternative provided for the filing of this action."

  35.   Plaintiff’s insurance policy provided for underinsured and underinsured benefits to be
        made available to Plaintiff which policy is believed to be in the possession of the
        Defendant Praetorian and which policy was in full force and effect on the date of the
        motor vehicle collision.

  36.   At all times material hereto, and at the time of the incident complained, said insurance
        policy was in full force and effect and provided for underinsured and underinsured
        motorist benefits to Plaintiff.

  37.   During the duration of this clause, contract, and/or policy, the subject vehicle collision
        occurred with resulting injuries as set forth herein.

  38.   The subject collision gives rise to the payment of benefits for injuries suffered in the
        collision caused by Hugo Topete.

  39.   When and at such time as an insured such as Plaintiff is injured by the negligent conduct
        of said driver, which constitutes conduct for which underinsured and/or underinsured
        benefits are applicable to this cause.

  40.   As of the time of filing this complaint, Defendant Praetorian has failed and/or refused to
        pay reasonable covered benefits pursuant to the underinsured/underinsured benefits
        available and as such has required the filing of this action.

  41.   Further, during the duration of the clause, contract, and/or policy of insurance providing
        Plaintiff with underinsured/underinsured benefits, and on the date of the incident
        complained of, Hugo Topete, which driver is deemed an underinsured motorist, did so
        carelessly and negligently operate his motor vehicle so as to collide with great force and
        violence against a vehicle lawfully operated in which Plaintiff was a driver.

  42.   Hugo Topete’s negligence and actions were the direct and proximate cause of severe,
        permanent, and disabling injuries of body, mind, psyche, economic and noneconomic
        losses, and physical impairment as are herein after further described.

  43.   At all times material hereto and at the time of the incident complained of, the Plaintiff, as
        the driver of the vehicle operated in a reasonable and safe fashion, such that the Plaintiff
        did not cause or contribute to cause the motor vehicle collision. As such, the Plaintiff
        committed no violation of law or act of negligence and is in no matter guilty of
        negligence or comparative negligence.




                                                 6
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 7 of 9




                             SECOND CLAIM FOR RELIEF
                    (BAD FAITH BREACH OF INSURANCE CONTRACT)

  44.   Plaintiff incorporates and re-alleges the allegations contained in paragraphs 1 through 43
        above.

  45.   As a provider of insurance Company to the public, Defendant at all times had a duty to
        act in good faith and fair dealing in everything pertaining thereto, abstain from deceptive
        or misleading practices and keep, observe, and practice the principles of law and equity in
        all matters pertaining to the business of insurance.

  46.   Under Colorado law, every insurance contract contains an implied covenant of good faith
        and fair dealing and imposes on insurers a duty to act in good faith with their insureds.
        Pursuant to its implied duty of good faith and fair dealing, Defendant owed to Plaintiff an
        obligation to treat Plaintiff’s interests with equal consideration to their own interests.

  47.   Defendant has breached its duty of good faith and fair dealing owed to Plaintiff, including
        but not limited to:

               a.      Failing to give equal consideration to the interest of Plaintiff, its insured;

               b.      When investigating Plaintiff’s claims, failing to diligently search for
                       evidence that supported their insured’s (Plaintiff’s) claims;

               c.      Seeking to discover only evidence that defeated their insured’s (Plaintiff’s)
                       claims;

               d.      Unreasonably delaying and/or withholding benefits under the insurance
                       policy without a reasonable basis for delaying and/or withholding benefits,
                       with knowledge or reckless disregard of a lack or reasonable basis for
                       delaying and/or withholding benefits;

               e.      Failing to adopt and implement reasonable standards for the prompt
                       investigation of claims arising under the insurance policy;

               f.      Refusing to pay claims without conducting a reasonable investigation
                       based upon all available information;

               g.      Not attempting in good faith to effectuate prompt, fair and equitable
                       settlements of claims after its liability has become reasonably clear;

               h.      Compelling Plaintiff to institute litigation to recover amounts due under
                       the insurance policy by offering substantially less than the amounts
                       Plaintiff is entitled to recover;

               i.      Forcing Plaintiff into the costly and lengthy process of litigation;



                                                  7
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 8 of 9




                 j.      Any further acts which may be discovered.

  48.    Defendant’s aforesaid conduct was unreasonable and Defendant either knew such
         conduct was unreasonable or recklessly disregarded the fact that the conduct was
         unreasonable.

  49.    As a direct and approximate result of Defendant’s breach of its duty of good faith and fair
         dealing, Plaintiff has sustained damages in the amount to be proved at trial.

                            THIRD CLAIM FOR RELIEF
            (VIOLATION OF C.R.C.P. 10-3-1115(1)(A) AND C.R.C.P. 10-3-1116(1))

  50.    Plaintiff incorporates and re-alleges the allegations contained in paragraphs 1 through 49
         above.

  51.    Defendant violated C.R.S. § 10-3-1115 by failing to make a reasonable offer.

  52.    Defendant violated C.R.S. § 10-3-1115 by denying a covered benefit to Plaintiff without
         a reasonable basis for denial.

  53.    As a result of this delay in making reasonable offer, Plaintiff is entitled to recover
         reasonable attorney fees and court costs and two times the covered benefit pursuant to
         C.R.S. § 10-3-1116(a).

                                   Plaintiff demands a trial by jury
          WHEREFORE, Plaintiffs request that judgment be entered in favor of the Plaintiff and
  against the Defendants, in an amount to fairly compensate him for the injuries as set forth above,
  court costs, attorney fees, expert witness fees, statutory interest from the date this cause of action
  accrued or as otherwise permitted under Colorado law and for such other and further relief as this
  Court deems just and proper and / or Plaintiffs pray for the following relief:

         (a)             For an amount which will reasonably compensate the Plaintiff for past,
                         present and future economic loss;
         (b)             For an amount which will reasonably compensate the Plaintiff for medical
                         expenses, past and future;
         (c)             For an amount which will reasonably compensate the Plaintiff for
                         permanent impairment, injuries, and/or disfigurement, limitations and or
                         disabilities of the body and/or mind;
         (d)             For an amount which will reasonably compensate the Plaintiff for pain and
                         suffering, past and future;
         (e)             For an amount which will reasonably compensate the Plaintiff for loss of
                         enjoyment of life and / or the capacity of life and an amount reasonably
                         calculated to compensate for past and future medical care.




                                                    8
Case 1:18-cv-00036-CMA-MEH Document 4 Filed 01/05/18 USDC Colorado Page 9 of 9




         (f)             For interest as provided by Statute from the date of the collision which
                         forms the basis of the complaint to the date of verdict or judgment, and for
                         costs and fees incurred in the prosecution of the matter and for any other
                         and further relief as the Court may deem just and appropriate.
         (g)             For any other and all fees, costs, benefits, and damages incorporated above
                         as provided by law.
         (h)             For any and all fees, costs, benefits and damages provided by statute.

  Respectfully submitted this 7th day of December 2017.

                                               SAWAYA, ROSE, MCCLURE & WILHITE, P.C.



                                               By:/s/ Robert D. Wilhite
                                               This pleading was filed electronically pursuant to Rule 121 § 1-26 Original
                                               signed pleading is on file in counsel’s office




  Plaintiff's Address:
  17012 Foxton Drive
  Parker, CO 80134




                                                   9
